DeMarco•Mitchell,
   Case 24-41357    PLLC Doc 6   Filed 06/10/24 Entered 06/10/24 08:13:06          Desc Main
Robert T. DeMarco                  Document     Page 1 of 15
Michael S. Mitchell
500 N. Central Expressway
Suite 500
Plano, TX 75074
T 972-578-1400
F 972-346-6791

                          IN THE UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 IN RE:
                                                  Case No.:      24-41357-R
 Lone Star Logistics and Delivery, LLC
 XX-XXXXXXX
 5211 Spanish Oaks
 Frisco, TX 75034
                                                  Chapter:       11
 Debtor

                     DEBTOR’S EXPEDITED MOTION FOR ORDER AUTHORIZING
                       THE INTERIM AND FINAL USE OF CASH COLLATERAL
                                [11 U.S.C. §§ 105, 361, and 363]


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

      COMES NOW, Lone Star Logistics and Delivery, LLC, debtor and debtor in possession in the

above-styled and numbered case (the “Debtor”), and files this Debtor’s Expedited Motion for

Order Authorizing the Interim and Final Use of Cash Collateral [11 U.S.C. §§ 105, 361, and 363] by

and through the undersigned attorney.        Debtor requests the entry of an interim order

substantially in the form attached hereto as Exhibit “A” (the “Interim Order”) and a final order

(the “Final Order”, and in conjunction with the Interim Order, the “Cash Collateral Orders”),

pursuant to 11 U.S.C. §§ 105, 361, and 363 and Federal Rules of Bankruptcy Procedure 4001 and

9014: (a) authorizing Debtor to use the cash collateral of the Secured Lenders (defined infra) and

granting adequate protection thereto; and (b) prescribing the form and manner of notice and

setting the time for the final hearing on this Motion (the “Final Hearing”). The facts and

circumstances supporting this Motion are set forth in the concurrently filed Declaration of Brian
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Blackmire in Support of First Day Motions (“First Day Declaration”). In further support of this

Motion the Debtor respectfully avers as follows:

                                              I.       JURISDICTION

           1.       The Court has jurisdiction over the subject matter of this Motion pursuant to 28

U.S.C. §1334(b) and the standing order of reference of the District Court. This matter is a core

proceeding. 28 U.S.C. §157(b).

           2.       Venue in this Court is proper under 28 U.S.C. §§ 1408 and 1409.

           3.       The bases for the relief requested herein are sections 105, 361 and 363 of title 11

of United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), and rules 2002, 4001 and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                              II.      BACKGROUND

           4.       This bankruptcy case was commenced by the filing of a voluntary petition for relief

under Chapter 11 of the Bankruptcy Code on June 7, 2024 (the “Petition Date”).

           5.       No trustee 1 or examiner has been appointed, and no official committee of

creditors has yet been established.

           6.       Additional factual background relating to the Debtor’s business, capital structure,

and the commencement of this chapter 11 case is set forth in detail in the Declaration of Brian

Blackmire in Support of Debtor’s First Day Motions (the “First Day Declaration”) filed

concurrently herewith.




1
    Debtor anticipates the appointment of a Subchapter V Trustee within 2 business days of the Petition date.


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                               III.    FACTS SPECIFIC TO RELIEF REQUESTED

                                            A.      Secured Lenders

           7.      In accord with Bankruptcy Rule 4001(b)(1)(B)(i) and (iii), Debtor’s secured

creditor(s) 2 asserting an interest in the Debtor’s cash collateral as evidenced by the filing of a

UCC-1 financing statement are set forth below. The Debtor’s primary secured creditors include

a handful of merchant cash advance and other lenders (collectively, the “Secured Lenders”).

Those Secured Lenders are as follows:

          Lender                            Contact                              Email
    Headway Capital, LLC          David Fisher, President           support@headwaycapital.com

    Highland Hill Capital,        Mitchell Levy, Director-          mlevy@highlandhillcap.com
    LLC                           Legal Affairs
    (3/6/24 Loan)
                                  Scott Federico, Senior            scott@highlandhillcap.com
                                  Funding Coordinator

                                  David Fogel, Esq.                 legaldocs@dfogelpc.com


                                                                    info@highlandhillcap.com
                                                                    uccsprep@cscinfo.com

    Highland Hill Capital,        Mitchell Levy, Director-          mlevy@highlandhillcap.com
    LLC                           Legal Affairs
    (3/27/23 Loan)
                                  Scott Federico, Senior            scott@highlandhillcap.com
                                  Funding Coordinator

                                  David Fogel, Esq.                 legaldocs@dfogelpc.com


                                                                    info@highlandhillcap.com
                                                                    uccsprep@cscinfo.com



2
    Premised upon the UCC-1 filings and other related security documents reviewed to date.


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 National Funding, Inc.        Jennifer Agriesti, Senior         jagriesti@nationalfunding.com
                               Portfolio Management
                               Specialist

 RD Capital Funding, LLC       Ekrim Hajra, Account              ehajra@advancedrecoverygroup.com
 (d/b/a FinTap)                Manager/Resolutions
                               Specialist, Advanced
                               Recovery Group


        8.      The Debtor is informed and believes that, with the exception of National Funding,

Inc., each of the Secured Lenders detailed above recorded UCC-1s through a third-party

representative. As such, the Debtor, at this juncture, is unable to discern which filing applies to

which Secured Lender. Attached hereto as Exhibit “B” are true and correct copies of the three

(3) UCC-1 filings made through third-party representatives. A copy of National Funding, Inc.’s

UCC-1 filing is attached thereto as well.

        9.      The Secured Lenders assert that they are secured by liens on and security interests

in substantially all of Debtor’s Equipment, Accounts, and Inventory.

        10.     In the normal course of business, Debtor uses cash on hand and cash flow from

operations to fund payroll obligations, the purchase of materials and supplies, and other general

operational needs. An inability to use these funds during the chapter 11 case would cripple the

Debtor’s operations. Indeed, the Debtor must use its cash to, among other things, continue the

operation of the business in an orderly manner, maintain business relationships with vendors,

suppliers and customers, pay employees and satisfy other working capital and operation needs–

–all of which are necessary to preserve and maintain Debtor’s going-concern value and,

ultimately, to effectuate a successful reorganization.




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           11.     As set out in the First Day Declaration, the Debtor’s flow of receivables directly

from Amazon is extremely consistent. Receivables are expected to remain substantially constant

throughout the course of the Debtor’s reorganization and to provide a source of adequate

protection for the interests of the secured creditors detailed above. The Debtor anticipates that

it will be able to fully repay all of its obligations via a plan of reorganization.

                                          IV.      RELIEF REQUESTED

           12.     By this Motion and pursuant to 11 U.S.C. §§ 105, 361, and 363 of the Bankruptcy

Code and Bankruptcy Rules 4001 and 9014, Debtor requests that the Court grant the following

relief:

                   a.       Authorize the Debtor, on an interim basis, pursuant to section 363(c) of

           the Bankruptcy Code, to use proceeds of assets on which the Secured Lenders assert liens

           and security interests (“Cash Collateral”)3 in accord with the budget attached to the

           Interim Order (“Budget”);

                   b.       Authorize the Debtor, on an interim basis, pursuant to sections 361 and

           363 of the Bankruptcy Code, to provide the adequate protection described herein to

           the Secured Lenders as regards any diminution in value of the Secured Lenders’ interest

           in the Collateral as existing on the Petition Date (“Prepetition Collateral”), whether from

           the use of Cash Collateral or the use, sale, lease, depreciation, or decline in value of said

           collateral;




3
  Debtor does not hereby admit or consent to the validity, priority, extent or enforceability of the liens asserted by
Secured Lender and hereby reserves all rights with respect thereto.


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                c.       Schedule a Final Hearing pursuant to Bankruptcy Rule 4001 no later than

        fourteen (14) days after the entry of the Interim Order, to consider the entry of a Final

        Order authorizing the use of Cash Collateral and approving the notice procedures relative

        thereto;

                d.       Authorize Debtor, on a final basis, pursuant to 363(c) of the Bankruptcy

        Code, to use the Cash Collateral; and

                e.       Authorize Debtor, on a final basis, pursuant to sections 361 and 363 of the

        Bankruptcy Code to provide the adequate protection described herein to Secured Lenders

        as regards any diminution in value of the Secured Lenders’ interest in the Prepetition

        Collateral, whether from the use of Cash Collateral or the use, sale, lease, depreciation,

        or decline in value of said collateral.

                                        V.      BASIS FOR RELIEF

                         A.       Immediate Need for Use of Cash Collateral

        13.     Pursuant to Bankruptcy Rule 4001(b)(2), the Court may conduct a preliminary cash

collateral hearing within fourteen (14) days of the Petition Date if the relief requested is

necessary to avoid immediate and irreparable harm to the estate pending a final hearing.

        14.     The Debtor has an immediate need for the use of Cash Collateral pending a final

hearing on this Motion. As of the Petition Date, Debtor lacks sufficient unencumbered cash to

fund its operations.

        15.     Without the use of Cash Collateral, Debtor will have no ability to operate, fund its

payroll or pay professionals necessary for the successful reorganization of its business.




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Moreover, Debtor will not be able to provide the services upon which it relies for its income to

the community in which it operates. All of these outcomes will cause immediate and irreparable

harm to the Debtor’s bankruptcy estate.

        16.     The Debtor’s ability to finance its operations and the availability to the Debtor of

sufficient working capital and liquidity through the use of Cash Collateral is vital to the confidence

of its employees, and to the preservation and maintenance of the going-concern value and other

values of the bankruptcy estate. The Debtor, therefore, seeks immediate authority to use the

Cash Collateral as set forth in the Motion and in the Interim Cash Collateral Order to prevent

immediate and irreparable harm to its bankruptcy estates pending the Final Hearing pursuant to

Bankruptcy Rule 4001(c).

        17.     Debtor has formulated a Budget for the use of Cash Collateral. Debtor believes

that the Budget includes all reasonable, necessary and foreseeable expenses to be incurred in

the ordinary course of business during the subject time period so as to avoid immediate and

irreparable harm to the bankruptcy estate pending a final hearing.

        18.     Accordingly, the Debtor seeks to use Cash Collateral existing on or after the

Petition Date that may be subject to Secured Lenders’ interest in the Prepetition Collateral. As

of the Petition Date, Debtor lacks sufficient unencumbered cash to fund the business operation.

        19.     If approved by this Court, Debtor’s right to use Cash Collateral under the terms of

the Interim Order will commence on the date of the entry of the Interim Order and expire on the

earlier of: (a) the entry of a subsequent interim order; or (b) the entry of the Final Order.




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                                        B.     Adequate Protection

        20.     In consideration for the interim use of cash collateral, and as adequate protection

for any diminution of the interest of the Secured Lenders in the Prepetition Collateral, the Debtor

hereby tenders to the Secured Lenders, to the extent that the Secured Lenders may hold valid,

perfected and unavoidable security interests in the Prepetition Collateral without any

requirement to file any documents to perfect that interest, additional and replacement security

interests and liens (the “Replacement Liens”) as follows:

                The granting of post-petition security interests equivalent to a
                lien granted under sections 364(c)(2) and (3) of the Bankruptcy
                Code, as applicable, in and upon the Debtor’s personal property
                (where appropriate) and upon the Cash Collateral, whether such
                property was acquired before or after the Petition Date.

                For sake of clarity and to avoid any possibility of confusion, the
                replacement liens offered herein are intended only to replace
                each secured creditors liens or liens with an equivalent lien or
                liens. Said replacement liens are not intended to expand or
                improve a creditor’s lien position.

        21.     In addition to the Replacement Liens, the Secured Lenders are adequately

protected by the continued business operations of the Debtor.

                                   C.        Request for Final Hearing

        22.     Pursuant to Bankruptcy Rule 4001(b)(2), Debtor requests this Court set a date for

the Final Hearing that is as soon as practicable, but in no event later than fourteen (14) days

following the entry of the Interim Order and fix the time and date prior to the Final hearing for

parties to file objections to this Motion.




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                                  VI.     BANKRUPTCY RULE 4001(B)

        23.     The Debtor submits that the facts set forth herein establish that “the relief

requested herein is necessary to avoid immediate and irreparable harm” to the Debtor.

Accordingly, the requirements of Bankruptcy Rule 4001(b)(2) are satisfied.


                                              VII.    NOTICE

        24.     Bankruptcy Rules 4001 and 9014 generally require that any proceeding to use cash

collateral be made only upon Motion and on notice to: (1) any entity that has an interest in the

Cash Collateral; (2) a Committee that may be appointed under the Bankruptcy Code (11 U.S.C. §

1102) or, if no such committee is appointed, on the twenty largest unsecured creditors; and (3)

such other entities as the Court may direct.

        25.     Service was made as set forth in the certificate of service below.

        WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests that this Court

enter an Interim Order on an expedited basis granting the relief requested herein, establishing a

date and time for the Final Hearing; and for such other and further relief as is just and proper.

                                                       Respectfully submitted,

 Dated: June 10, 2024                                  /s/ Michael S. Mitchell
                                                       DeMarco•Mitchell, PLLC
                                                       Robert T. DeMarco, Texas Bar No. 24014543
                                                       Email robert@demarcomitchell.com
                                                       Michael S. Mitchell, Texas Bar No. 00788065
                                                       Email mike@demarcomitchell.com
                                                       500 N. Central Expressway, Suite 500
                                                       Plano, TX 75074
                                                       T        972-578-1400
                                                       F        972-346-6791
                                                       Proposed Counsel for Debtor and Debtor in
                                                       Possession




 Debtor’s Expedited Motion for Order Authorizing the Interim and Final Use of Cash                   Page 9
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                                     CERTIFICATE OF CONFERENCE

      The undersigned counsel hereby certifies that, prior to the filing of this Motion, he
attempted to confer with the following parties concerning their respective positions on the
Motion:

          Creditor, Counsel, or Other Party in Interest                              Position

 Marcus Salitore and John Vardeman counsel for the United                 Unopposed
 States Trustee

 Marc.f.salitore@usdoj.gov
 John.m.vardeman@usdoj.gov

 903-590-1450


 Headway Capital, LLC                                                     No response as of the filing of
                                                                          this Motion
 support@headwaycapital.com

 Highland Hill Capital, LLC                                               No response as of the filing of
                                                                          this Motion
 mlevy@highlandhillcap.com
 scott@highlandhillcap.com
 legaldocs@dfogelpc.com
 info@highlandhillcap.com
 uccsprep@cscinfo.com

 David Fogel, Esq.
 Daivd Fogel P.C.

 516-279-1420

 National Funding, Inc.                                                   No response as of the filing of
                                                                          this Motion
 jagriesti@nationalfunding.com

 RD Capital Funding, LLC (d/b/a FinTap)                                   No response as of the filing of
                                                                          this Motion
 ehajra@advancedrecoverygroup.com

 Jeffrey Parella, Esq.
 AWN&R Commerical Law Group, PLLC

 718-233-2916



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/s/ Michael S. Mitchell
DeMarco•Mitchell, PLLC
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                                        CERTIFICATE OF SERVICE

        The undersigned counsel herby certifies that true and correct copies of the foregoing
pleading and all attachments were served upon all parties listed below in accordance with
applicable rules of bankruptcy procedure on this 10th day of June, 2024. Where possible, service
was made electronically via the Court’s ECF noticing system or via facsimile transmission where
a facsimile number is set forth below. Where such electronic service was not possible, service
was made via regular first-class mail.

                                                  DEBTOR
 Lone Star Logistics and Delivery, LLC
 5211 Spanish Oaks
 Frisco, TX 75034

                                                TRUSTEE(S)
 Office of the United States Trustee                 John Vardeman
 110 N. College Avenue, Suite 300                    Office of the United States Trustee
 Tyler, TX 75702                                     110 N. College Avenue, Suite 300
 ustpregion06.ty.ecf@usdoj.gov                       Tyler, TX 75702
                                                     John.m.vardeman@usdoj.gov

           ADDITIONAL PARTIES IN INTEREST AND/OR PARTIES REQUESTING NOTICE
 Headway Capital, LLC                       Highland Hill Capital, LLC
 c/o Corporation Service Company, As        c/o Corporation Service Company, As
 Representative                             Representative
 P.O. BOX 2576                              P.O. BOX 2576
 Springfield, IL 62708                      Springfield, IL 62708
 UCCSPREP@cscinfo.com                       UCCSPREP@cscinfo.com

 National Funding, Inc.                                 RDM Capital Funding, LLC, d/b/a FinTap
 C/O Corporation Service Company, As                    c/o Corporation Service Company, As
 Representative                                         Representative
 P.O. Box 2576                                          P.O. BOX 2576
 Springfield, IL 62708                                  Springfield, IL 62708
 USCSPREP@cscinfo.com                                   UCCSPREP@cscinfo.com

 Highland Hill Capital, LLC                             Highland Hill Capital, LLC
 1100 Park Central Blvd. S., Suite 1200                 C/O David Fogel, Esq.
 Pompano Beach, FL 33064                                1225 Franklin Avenue, Suite 201
                                                        Garden City, NY 11530
                                                        legaldocs@dfogelpc.com




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Headway Capital, LLC                                   Headway Capital, LLC
Attn: Bankruptcy Notice                                C/O National Registered Agents, Inc.
175 W. Jackson Blvd., Suite 1000                       1999 Bryan Street, Suite 900
Chicago, IL 60604                                      Dallas, TX 75201
support@headwaycapital.com

National Funding, Inc.                                 National Funding
9530 Towne Centre Drive, Suite 120                     4380 LaJolla Village Drive
San Diego, CA 92121                                    San Diego, CA 92122
                                                       Attn: Jennifer Agriesti
                                                       jagriesti@nationalfunding.com

RDM Capital Funding, LLC, d/b/a FinTap                 RDM Capital Funding, LLC, d/b/a FinTap
C/O AWN&R Commercial Law Group, PLLC                   777 Passaic Ave., Suite 375
Attn: Jeffrey Parrella, Esq.                           Clifton, NJ 07012
14 Wall Street, 20th Floor
New York, NY 10005

RDM Capital Funding, LLC, d/b/a FinTap
C/O Ekrem Hajra
Advanced Recovery Group
30 Two Bridges Road, Suite 100
Fairfield, NJ 07004
ehajra@advancedrecoverygroup.com



                                        SEE ATTACHED MATRIX



/s/ Michael S. Mitchell
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Label Matrix for local noticing                    AWN&R Commercial Law Group,
                                                      Document           PagePLLC
                                                                                14 of 15          Advanced Recovery Group
0540-4                                             Attn: Jeffrey Parrella, Esq.                   Attn: Ekrem Hajra
Case 24-41357                                      14 Wall Street, 20th Floor                     30 Two Bridges Road Suite 100
Eastern District of Texas                          New York, NY 10005-2123                        Fairfield, NJ 07004-1546
Sherman
Mon Jun 10 08:06:54 CDT 2024
Ally Financial                                     Amazon Logistics, Inc.                         Amazon Logistics, Inc.
PO Box 380901                                      Attn: Director, Amazon Logistics               Attn: General Counsel
Bloomington, MN 55438-0901                         PO Box 81226                                   Po Box 81226
                                                   Seattle, WA 98108-1300                         Seattle, WA 98108-1300


Blackmire Realty Inv. Florida, LLC                 Brian Anthony Blackmire                        CSC, As Representative
5211 Spanish Oaks Drive                            5211 Spanish Oaks                              PO Box 2576
Frisco, TX 75034-5107                              Frisco, TX 75034-5107                          Springfield, IL 62708-2576



Capital One                                        (p)CITY OF FRISCO                              Comptroller of Public Accounts
PO Box 60519                                       P O BOX 2730                                   Austin, TX 78774-0100
City of Industry, CA 91716-0519                    FRISCO TX 75034-0051                           111 E. 17th Street 78774-0100



Corporation Service Company, As Rep.               David Fogel, PC                                Davis Wright Tremaine, LLP
Po Box 2576                                        c/o David Fogel, Esq.                          Attn: Alex Rivera
Springfield, IL 62708-2576                         1225 Franklin Ave Ste. 201                     920 5th Avenue Suite 3300
                                                   Garden City, NY 11530-1890                     Seattle, WA 98104-1610


Denton County Tax Assessor/Collector               Frisco ISD                                     G M Financial
1505 E. McKinney Street                            C/O Perdue, Brandon et al                      801 Cherry Street Suite 3600
Denton, TX 76209-4525                              1919 S. Shiloh Road Suite 640, LB 40           Fort Worth, TX 76102-6855
                                                   Garland, TX 75042-8234


GM Financial                                       (p)HEADWAY CAPITAL                             Headway Capital, LLC
801 Cherry Street Suite 3600                       175 W JACKSON BLVD SUITE 1000                  C/O National Registered Agents, Inc.
Fort Worth, TX 76102-6855                          CHICAGO IL 60604-2863                          1999 Bryan Street Suite 900
                                                                                                  Dallas, TX 75201-3140


Highland Hill Capital LLC                          Human Interest, Inc.                           Internal Revenue Service
1100 Park Central Blvd. S. Suite 1200              Attn: William Crabill                          Central Insolvency Operations
Pompano Beach, FL 33064-2211                       2675 W. 600 N. Suite 200                       PO Box 7346
                                                   Lindon, UT 84042-1262                          Philadelphia, PA 19101-7346


Linebarger, Goggan, Blair & Sampson, LLP           Lone Star Logistics and Delivery, LLC          Michael S. Mitchell
2777 N Stemmons Fwy Ste 1000                       5211 Spanish Oaks                              Michael S. Mitchell
Dallas, TX 75207-2328                              Frisco, TX 75034-5107                          500 N. Central Expressway
                                                                                                  Suite 500
                                                                                                  Plano, TX 75074-6703

National Funding                                   National Funding, Inc.                         (p)NATIONAL FUNDING
Attn: Jennifer Agriesti                            4380 La Jolla Village Drive                    ATTN ATTN ROBERT ZAHRADKA
4380 La Jolla Village Dr.                          San Diego, CA 92122-1200                       9530 TOWNE CENTRE DR SUITE 120
San Diego, CA 92122-1200                                                                          SAN DIEGO CA 92121-1981
                      Case 24-41357        Doc 6      Filed 06/10/24         Entered 06/10/24 08:13:06              Desc Main
National Funding, Inc.                               RDM Document
                                                         Capital Funding, LLC
                                                                            Page 15 of 15                 Texas Workforce Commission
9820 Towne Centre Drive                              D/B/A FinTap                                         TEC Building - Bankruptcy
San Diego, CA 92121-1912                             777 Passaic Ave. Suite 375                           101 E 15th St
                                                     Clifton, NJ 07012-1875                               Austin, TX 78778-1442


The Tax Planning Pros                                U.S. Attorney General                                U.S. Securities and Exchange Commission
5 Cowboys Way                                        Department of Justice                                801 Cherry Street Suite 1900, Unit 18
Frisco, TX 75034-2066                                Main Justice Building                                Fort Worth, TX 76102-6819
                                                     10th & Constitution Ave., NW
                                                     Washington, DC 20530-0001

US Trustee                                           United States Attorney’s Office                      United States Trustee
Office of the U.S. Trustee                           110 N. College Avenue Suite 700                      110 North College Ave. Room 300
110 N. College Ave.                                  Tyler, TX 75702-0204                                 Tyler, TX 75702-7231
Suite 300
Tyler, TX 75702-7231

Wheels                                               Xcelerate
Formerly Lease Plan USA Inc.                         Formerly Element Fleet
PO Box 978763                                        9350 Excelsior Blvd. Suite 400
Dallas, TX 75397-8763                                Hopkins, MN 55343-0095




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


City of Frisco                                       Headway Capital, LLC                                 National Funding, Inc.
6101 Frisco Square Blvd.                             Attn: Bankruptcy Notice                              9530 Towne Centre Drive Suite 120
Frisco, TX 75034                                     175 W. Jackson Blvd. Suite 1000                      San Diego, CA 92121
                                                     Chicago, IL 60604


End of Label Matrix
Mailable recipients     40
Bypassed recipients      0
Total                   40
